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                           IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


ADRIAN LUPU,
                                                     Civil Action No. 12-4556
          Plaintiff,

v.

LOAN CITY, LLC, et al,

          Defendants.

OCWEN LOAN SERVICING, LLC,

          Third Party Plaintiff,

v.

STEWART TITLE GUARANTY
COMPANY,

          Third Party Defendant.



                   STIPULATION AND PROPOSED ORDER OF DISMISSAL

          IT IS HEREBY STIPULATED between the parties that the matter should be ordered

dismissed pursuant to Federal Rule of Civil Procedure 41(a), with prejudice and without costs.

DUANE MORRIS LLP                                 KAPLIN STEWART MELOFF REITER &
                                                 STEIN, P.C.
_/s/ Brett L. Messinger_____
Brett L. Messinger                               _/s/ Michael P. Coughlin
Attorneys for Ocwen Loan Servicing, LLC          Michael P. Coughlin
                                                 Attorneys for Stewart Title Guaranty Company




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                                             ORDER

          AND NOW, it appearing the parties have agreed pursuant to Federal Rule of Civil

Procedure 41(a) that this matter should be dismissed, it is HEREBY ORDERED that this matter

is dismissed with prejudice and without costs.


                                             IT IS SO ORDERED:


                                             __________________________________




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